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                         8                            UNITED STATES DISTRICT COURT
                         9                CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                        10

                        11    Lourdes Martinez; Alfred Martinez, Jr.;         Case No: 8:18-CV-01296 JVS (KESX)
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                        12    Carlos Martinez,                                Magistrate Judge Hon. Karen E. Scott
                                                                              (Complaint filed on May 1, 2018)
                        13             Plaintiffs,
                                                                              ORDER RE JOINT STIPULATION
                        14       vs.                                          FOR DISMISSAL OF THE ENTIRE
                                                                              ACTION WITH PREJUDICE
                        15    Costco Wholesale Corporation;
                              Ameletta Bonneville; Janis Anton; and
                        16    Does 1 to 100, Inclusive,
                        17             Defendants.
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                                    Having considered the Parties’ Joint Stipulation for Dismissal of the Entire Action
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                             with Prejudice, and finding that good cause exists, the Court hereby ORDERS that
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                             Plaintiff’s case 8:18-CV-01296 JVS (KESX) is hereby DISMISSED with prejudice in
                        22
                             its entirety.
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                        25   DATED: April 21, 2020                   _________________________________
                        26                                              Judge James V. Selna
                        27                                          UNITED STATES DISTRICT JUDGE

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                                                                              ORDER RE JOINT STIPULATION RE DISMISSAL WITH PREJUDICE
